       Case 1:06-cr-00126-BLW Document 826 Filed 05/18/09 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,              )
                                       )
             Plaintiff,                )      Case No. CR-06-126-S-BLW
                                       )
      v.                               )      ORDER ADOPTING
                                       )      REPORT AND
KENT ALLEN JONES,                      )      RECOMMENDATION
                                       )
             Defendant.                )
                                       )

      The Court has before it a Report and Recommendation filed by the United

States Magistrate Judge. (Docket No. 389). On November 29, 2007, Defendant

KENT ALLEN JONES appeared before the Magistrate Judge to enter a change of

plea pursuant to a written plea agreement. The Magistrate Judge conducted the plea

hearing and concluded there is a factual basis for Defendant’s plea of guilty to

Counts 2, 3, 6, and 7 of the Superseding Indictment, and that it was entered

voluntarily and with full knowledge of the consequences.

      Defendant was advised that this Court would decide whether or not to be

bound by the plea and Plea Agreement containing a stipulated sentencing range

after reviewing Defendant’s presentence report. The Magistrate Judge then

recommended that if the Court determined that the plea and Plea Agreement
Order Adopting Report and Recommendation - 1
        Case 1:06-cr-00126-BLW Document 826 Filed 05/18/09 Page 2 of 3




containing the stipulated sentencing range should be accepted, then the

Defendant’s plea of guilty to Count 2, 3, 6, and 7 of the Superseding Indictment

(Docket No. 197) be accepted and Counts 1, 4, 5, and 8 be dismissed at the time of

sentencing.

      No objections to the Report and Recommendation had been filed. However,

the Court deferred a decision on whether to adopt the Report and Recommendation

until hearing argument of counsel at the sentencing hearing.

      The Court reviewed the record and found at the sentencing hearing that the

requirements of Rule 11 had been met. See United States v. Reyna-Tapia, 328 F.3d

1114 (9th Cir. 2003). Specifically, the Court found that the Magistrate Judge

adhered to the requirements of Rule 11(b); that under Rule 11(b)(2), the

Defendant’s plea was voluntary and not the result of force or threats or promises

apart from the plea agreement; and that a factual basis for the plea exists. See id.

      Furthermore, at the sentencing hearing, the Court orally accepted

Defendant’s plea and the Plea Agreement finding that the stipulated sentencing

range was at least partially within the applicable guideline range. The Court then

orally adopted the Report and Recommendation and advised that a written order

would follow. The Government moved to dismiss Counts 1, 4, 5, and 8 which the

Court granted. Accordingly,


Order Adopting Report and Recommendation - 2
       Case 1:06-cr-00126-BLW Document 826 Filed 05/18/09 Page 3 of 3




      NOW THEREFORE IT IS HEREBY ORDERED that the Court’s oral

adoption of the Report and Recommendation (Docket No. 389) at the sentencing

hearing shall be, and the same is hereby, confirmed, and the Report and

Recommendation was ADOPTED as the decision of the District Court and

incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Court’s oral ACCEPTANCE of

Defendant’s plea of guilty to Counts 2, 3, 6, and 7 of the Superseding Indictment

as a knowing and voluntary plea supported by an independent basis in fact

containing each of the essential elements of the offense, shall be, and the same is

hereby, confirmed.

      IT IS FURTHER ORDERED that the Court’s oral finding that KENT

ALLEN JONES is GUILTY as to the crimes charged in Counts 2, 3, 6, and 7 of the

Superseding Indictment is hereby confirmed.

      IT IS FURTHER ORDERED that the Counts 1, 4, 5, and 8 are DISMISSED.

                                          DATED: May 18, 2009



                                          B. LYNN WINMILL
                                          Chief Judge
                                          United States District Court




Order Adopting Report and Recommendation - 3
